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                United States Court of Appeals
                                 For the First Circuit
                                     _____________________
 No. 20-1437

               UNITED STATES SECURITIES AND EXCHANGE COMMISSION,

                                        Plaintiff - Appellee,

                                                 v.

                  LOUIS NAVELLIER; NAVELLIER & ASSOCIATES, INC.,

                                     Defendants - Appellants.
                                      __________________

                                               Before

                                 Torruella, Thompson and Barron,
                                          Circuit Judges.
                                      __________________

                                           JUDGMENT

                                      Entered: June 15, 2020

         Plaintiff-Appellee U.S. Securities & Exchange Commission has filed a motion to dismiss
 this appeal for lack of jurisdiction. Defendants-Appellants filed an opposition which we have
 carefully reviewed and considered. The theories of appellate jurisdiction offered by appellants are
 inapplicable and unpersuasive; as such, this interlocutory appeal must be dismissed. See U.S.
 Fidelity & Guar. Co. v. Arch Ins. Co., 578 F.3d 45, 55 (1st Cir. 2009) (burden of establishing
 appellate jurisdiction rests with party invoking it); Watchtower Bible & Tract Soc. of New York,
 Inc. v. Colombani, 712 F.3d 6, 12 (1st Cir. 2013) (appellate jurisdiction general principles); see
 also 28 U.S.C. §§ 1291, 1292.

          We note that the parties report that during the pendency of this interlocutory appeal, the
 district court has issued final judgment and the appellants have filed a notice of appeal from the
 same.

        The motion to dismiss the instant appeal for lack of jurisdiction is ALLOWED.


                                                        By the Court:

                                                        Maria R. Hamilton, Clerk
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